  Case: 1:18-cv-05120 Document #: 234 Filed: 04/07/25 Page 1 of 2 PageID #:33607



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 LEONARD GIPSON,                                        )
                                                        )
                          Plaintiff,                    )
                                                        )
                  v.                                    )   Case No. 18 C 5120
                                                        )
 CITY OF CHICAGO, Former CHICAGO                        )   Judge Steven Seeger
 POLICE SERGEANT RONALD WATTS,                          )
 Former OFFICER KALLATT MOHAMMED,                       )
 SERGEANT ALVIN JONES, OFFICER                          )
 ELSWORTH SMITH JR., OFFICER DOUGLAS                    )
 NICHOLS JR., OFFICER BRIAN BOLTON,                     )
 OFFICER MANUEL LEANO, OFFICER                          )
 KENNETH YOUNG, OFFICER DARREL                          )
 EDWARDS, OFFICER MATTHEW CADMAN,                       )
 MICHAEL SPAARGAREN, OFFICER                            )
 GEORGE SUMMERS, OFFICER CALVIN                         )
 RIDGELL, OFFICER ROBERT GONZALEZ,                      )
 OFFICER LAMONICA LEWIS, and any other                  )
 yet unidentified officers of the Chicago Police        )
 Department,                                            )
                                                        )
                          Defendants.                   )
                                                        )
                                                        )
                                                        )

                           STATUS REPORT REGARDING SETTLEMENT

        Counsel for Plaintiff and the City of Chicago provide the following update pursuant to the Court’s

April 2, 2025 Order.

        1.      All parties have signed the necessary settlement paperwork.

        2.      Counsel for the City of Chicago is working on arrangements to present the settlement to

the municipal body for approval.

        3.      Magistrate Judge Valdez recently granted the parties’ request to extend the deadline for

providing a settlement status report to June 4, 2025 unless dismissal documents are filed prior to that date.

Dkt. 233. If the settlement is approved before June 4, 2025, the parties will submit dismissal documents.

If the settlement has not been approved by June 4, they will file the required status report.
  Case: 1:18-cv-05120 Document #: 234 Filed: 04/07/25 Page 2 of 2 PageID #:33608



Respectfully submitted,

/s/ Scott Rauscher
One of the Attorneys for the Plaintiff Leonard Gipson

Arthur Loevy
Jon Loevy
Scott Rauscher
Josh Tepfer
Theresa Kleinhaus
Sean Starr
Wallace Hilke
Gianna Gizzi
LOEVY & LOEVY
311 N. Aberdeen St., Third Floor
Chicago, IL 60607


/s/ Paul A. Michalik
One of the Attorneys for Defendant
City of Chicago

Terrence M. Burns
Paul A. Michalik
Daniel M. Noland
Elizabeth A. Ekl
Katherine C. Morrison
BURNS NOLAND LLP
Special Assistant Corporation Counsel
311 S. Wacker Dr., Suite 5200
Chicago, IL 60606
(312) 982-0090




                                                   2
